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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


TANYA GILBERT,

      Plaintiff,

vs.                                                   Docket No. 2:12-cv-02837-SHM-cgc

NATIONWIDE PROPERTY & CASUALTY
INSURANCE COMPANY

      Defendant.



                    ORDER GRANTING MOTION TO AMEND ANSWER




      Before the Court is defendant’s December 12, 2012 motion for leave to amend its

Answer. For good cause shown, the motion is granted and defendant shall file its Amended

Answer forthwith.

      SO ORDERED this 30th day of January, 2013.



                                               __s/ Samuel H. Mays, Jr.
                                               SAMUEL H. MAYS, JR.
                                               UNITED STATES DISTRICT JUDGE
